                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN


 ESTATE OF ANTONIO GONZALES, et al.,

               Plaintiffs,
        v.                                               Case No.: 21-CV-848-LA

JOSEPH ANTHONY MENSAH, et al.,

               Defendants.


 ESTATE OF JAY ANDERSON, JR., et al.,

               Plaintiffs,
        v.                                               Case No.: 21-CV-1179-bhl

JOSEPH ANTHONY MENSAH, et al.,

               Defendants.


 ESTATE OF ALVIN COLE, et al.,

                Plaintiffs,
        v.                                               Case No.: 22-CV 856-LA

JOSEPH ANTHONY MENSAH, et al.,

               Defendants.


                           NOTICE OF APPEARANCE
______________________________________________________________________________

       PLEASE TAKE NOTICE that the undersigned appears as counsel on behalf of

Defendants, and demands that copies of all pleadings and notices of all proceedings

subsequent to the date of this notice be served upon me at our offices at Wirth + Baynard, 9898

West Bluemound Road, Suite 2, Wauwatosa, Wisconsin 53226.




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Dated at Wauwatosa, Wisconsin this 6th day of July, 2023.

                                    WIRTH + BAYNARD
                                    Attorneys for Defendants

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